872 F.2d 1027
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.NATIONAL LABOR RELATIONS BOARD, Petitioner,v.DICKINSON-IRON COMMUNITY ACTION AGENCY, Respondent.
    No. 89-5163.
    United States Court of Appeals, Sixth Circuit.
    April 5, 1989.
    
      Before BOYCE F. MARTIN, Jr., KRUPANSKY and MILBURN, Circuit Judges.
    
    ORDER
    
      1
      THIS CAUSE was submitted upon the application of the National Labor Relations Board for the enforcement of a certain order issued by it against Respondent, Dickinson-Iron Community Action Agency, its officers, agents, successors, and assigns, on December 21, 1988, in a proceeding before the said Board numbered 30-CA-9519-1, 30-CA-9519-2, 30-CA-9993, 30-CA-10013 and 30-CA-10013-2;  upon the transcript of the record in said proceeding, certified and filed in this Court enforcing the order.
    
    
      2
      ON CONSIDERATION WHEREOF, it is ordered and adjudged by the United States Court of Appeals for the Sixth Circuit that the said order of the National Labor Relations Board be, and the same is hereby enforced;  and that Respondent, Dickinson-Iron Community Action Agency, its officers, agents, successors, and assigns, abide by and perform the directions of the Board in said order contained.
    
    
      3
      Mandate shall issue forthwith.
    
    